OPINION — AG — MEASURES PASSED WITHOUT THE EMERGENCY CLAUSE AS PROVIDED IN ARTICLE V, SECTION 58 OF THE OKLAHOMA CONSTITUTION WILL TAKE EFFECT NINETY (90) DAYS AFTER THE ADJOURNMENT SINE DIE OF THE FIRST SESSION OF THE 31ST LEGISLATURE PROVIDED THEY HAVE BEEN OTHERWISE PROPERLY ENACTED. CITE: ARTICLE VI, SECTION 11 , ARTICLE V, SECTION 27, OPINION NO. 67-124 (BRIAN UPP) ** SEE: OPINION NO. 77-212 (1977) **